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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


Official Committee of Unsecured Creditors,

                         Plaintiff,                      Civil Action No. 21-417-MN

             v.                                          Bankruptcy Case No. 20-12836 (JTD)

James Alexander,

                         Defendant.


            MOTION TO WITHDRAW AS COUNSEL FOR JAMES ALEXANDER

       Pursuant to Delaware District Court Local Rule 83.7, 11 U.S.C. § 105(a), and Delaware

Lawyers’ Rule of Professional Conduct 1.16, Buchanan Ingersoll & Rooney PC (the “Firm”),

respectfully moves for an order permitting the Firm and its attorneys to withdraw as counsel to

Defendant James Alexander (“Mr. Alexander”) in the above-captioned matter and states in

support thereof as follows:

       1.         On or about October 2, 2020, the Firm was engaged to provide legal services for

Mr. Alexander in connection with the action entitled James Alexander v. Daniel Brian Schatt

and Joseph Podulka v. Cred Capital, Inc., C.A. No. 2020-0941-KSJM filed in the Delaware

Court of Chancery on or about November 4, 2020. Since that time, the needs of Mr. Alexander

evolved and the Firm has provided significant additional services to Mr. Alexander.

       2.         Specifically, on or about November, 2020, the Debtors filed a voluntary petition

for bankruptcy pursuant to Chapter 11 and the Firm provided Mr. Alexander services in

connection with this bankruptcy proceeding. The Firm represented Mr. Alexander in both the

main case, Case No. 20-12836, and the adversary proceeding, Adv. Proc. No.: 20-51006.




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       3.      On February 23, 2021, the Firm moved to withdraw as Mr. Alexander’s counsel

in the Main and Adversary proceedings, but were required by the Delaware Bankruptcy Court to

remain as Mr. Alexander’s counsel in order for him to comply with pending discovery

obligations. Those pending discovery obligations led to the Official Committee of Unsecured

Creditors filing a motion for contempt order and sanctions in this Court against Mr. Alexander.

       4.      Since the Delaware Bankruptcy Court’s March 17, 2021 Order requiring the Firm

to remain Mr. Alexander’s counsel while his discovery obligations were pending, the Firm

continued to diligently coordinate with and advise the Mr. Alexander with respect to the Court’s

Emergency Order and other matters regarding the above captioned action and adversary

proceeding. The Firm has, inter alia: (i) responded to all requests from opposing counsel based

on information provided by Mr. Alexander, (ii) responded to a motion for contempt against Mr.

Alexander, (iii) appeared before Your Honor with respect to Mr. Alexander’s discovery

obligations, (iv) reviewed, prepared, and produced three supplemental productions of documents

from Mr. Alexander amounting to 928 pages of documents, (v) in consultation with and based

upon information provided by Mr. Alexander, prepared and produced                 Mr. Alexander’s

responses and objections to discovery, (vi) in consultation with and based upon information

provided by Mr. Alexander, prepared and produced three supplemental declarations; and (vii)

participated in three deposition sessions of three to four hours each.

       5.      As of this Court’s June 21, 2021 order, 1 Mr. Alexander’s discovery obligations

under this Court’s February 5, 2021 Emergency Order are complete.

       6.      In addition, the United States Bankruptcy Court for the District of Delaware has

permitted the Firm and its attorneys to withdraw as counsel to Mr. Alexander. 2


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 D.I. 31 in Official Committee of Unsecured Creditors of Cred Inc. v. James Alexander, C.A.
No. 1:21-cv-00417 (D. Del. Mar. 23, 2021).


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       7.      The Firm has notified Mr. Alexander in advance of this Motion that it intended to

move to withdraw as his counsel in this Court and Mr. Alexander has agreed that it is necessary

and prudent for the Firm to withdraw. The Firm has thoroughly advised Mr. Alexander of the

status of this action as well as the potential consequences of the Firm’s withdrawal.

       8.      A copy of this Motion is being concurrently sent to Mr. Alexander via email.

                                         CONCLUSION

       WHEREFORE Buchanan Ingersoll & Rooney PC respectfully requests that this Court

permit the Firm to withdraw its appearance in the above-captioned matter.



                                                 Respectfully submitted,

                                                 BUCHANAN INGERSOLL & ROONEY PC

                                                 /s/ Geoffrey G. Grivner
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                                                 Attorneys for James Alexander

Dated: August 2, 2021




2
 See D.I. 868 in In re: Cred Inc., et al., Case No. 20-12836 (JTD) and D.I. 50 in Cred Inc., Cred
Capital, Inc., and Cred (US) LLC, Adv. Proc. No.: 20-51006.


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